ANDREA T. MARTNEZ, Acting United States Attorney (#9313)
CARLOS A. ESQUEDA, Assistant United States Attorney (#5386)
Attorneys for the United States of America
111 South Main Street, Ste. 1800 • Salt Lake City, Utah 84111
Telephone: (801) 524-5682 • Facsimile: (801) 325-3387


                   IN THE UNITED STATES DISTRICT COURT

                                DISTRICT OF UTAH




UNITED STATES OF AMERICA,                        INDICTMENT

                   Plaintiff,
                                                 VIOS.
      vs.                                        COUNTS 1, 2, 6, and 7: 18 U.S.C. §
                                                 2113(a), CREDIT UNION ROBBERY
CODY M. JENSEN,
                                                 COUNTS 3, 4, and 5: 18 U.S.C. §
                   Defendant.                    2113(a), BANK ROBBERY.


                                               Case: 2:21-cr-00342
                                               Assigned To : Parrish, Jill N.
                                               Assign. Date: 8/18/2021



      The Grand Jury Charges:

                                      COUNT 1
                                (Credit Union Robbery)
                                  18 U.S.C. § 2113(a)

      On or about December 6, 2019, in the District of Utah,

                                 CODY M. JENSEN,




                                           1
the defendant herein, by force, violence, and intimidation did take from the person and

presence of others, employees of the Cyprus Credit Union located at 11328 S. Jordan

Gateway (250 West), South Jordan, Utah, U.S. Currency, belonging to and in the care,

custody, control, management, and possession of the Cyprus Credit Union, a credit union

whose deposits are and on the date of the robbery were then insured by the National

Credit Union Administration Board (NCUAB); all in violation of 18 U.S.C. § 2113(a).

                                       COUNT2
                                 (Credit Union Robbery)
                                   18 U.S.C. § 2113(a)

       On or about January 3, 2020, in the District of Utah,

                                  CODY M. JENSEN,

the defendant herein, by force, violence, and intimidation did take from the person and

presence of others, employees of the America First Credit Union located at 1360 South

Foothill Drive, Salt Lake City, Utah, U.S. Currency, belonging to and in the care,

custody, control, management, and possession of the America First Credit Union, a credit

union whose deposits are and on the date of the robbery were then insured by the

National Credit Union Administration Board (NCUAB); all in violation of 18 U.S.C. §

2113(a).

                                       COUNT3
                                     (Bank Robbery)
                                   18 U.S.C. § 2113(a)

       On or about February 7, 2020, in the District of Utah,

                                  CODY M. JENSEN,
                                             2
the defendant herein, by force, violence, and intimidation did take from the person and

presence of others, employees of the U.S. Bank located at 4080 W. 9000 South, West

Jordan, Utah, U.S. Currency, belonging to and in the care, custody, control, management,

and possession of the U.S. Bank, a bank whose deposits are and on the date of the

robbery were then insured by the Federal Deposit Insurance Corporation (FDCI); all in

violation of 18 U.S.C. § 2113(a).

                                        COUNT4
                                      (Bank Robbery)
                                    18 U.S.C. § 2113(a)

       On or about February 28, 2020, in the District of Utah,

                                    CODY M. JENSEN,

the defendant herein, by force, violence, and intimidation did take from the person and

presence of others, employees of the U.S. Bank located at 1550 East 3500 North St.,

Lehi, Utah, U.S. Currency, belonging to and in the care, custody, control, management,

and possession of the U.S. Bank, a bank whose deposits are and on the date of the

robbery were then insured by the Federal Deposit Insurance Corporation (FDCI); all in

violation of 18 U.S.C. § 2113(a).

                                        COUNTS
                                      (Bank Robbery)
                                    18 U.S.C. § 2113(a)

       On or about May 5, 2020, in the District of Utah,

                                    CODY M. JENSEN,


                                             3
the defendant herein, by force, violence, and intimidation did take from the person and

presence of others, employees of the U.S. Bank located at 1174 West 600 North, Salt

Lake City, Utah, U.S. Currency, belonging to and in the care, custody, control,

management, and possession of the U.S. Bank, a bank whose deposits are and on the date

of the robbery were then insured by the Federal Deposit Insurance Corporation (FDCI);

all in violation of 18 U.S.C. § 2113(a).

                                        COUNT6
                                  (Credit Union Robbery)
                                    18 U.S.C. § 2113(a)

       On or about July 25, 2020, in the District of Utah,

                                   CODY M. JENSEN,

the defendant herein, by force, violence, and intimidation did take from the person and

presence of others, employees of the Goldenwest Credit Union located at 760 East Main

St., Lehi, Utah, U.S. Currency, belonging to and in the care, custody, control,

management, and possession of the Goldenwest Credit Union, a credit union whose

deposits are and on the date of the robbery were then insured by the National Credit

Union Administration Board (NCUAB); all in violation of 18 U.S.C. § 2113(a).

                                        COUNT7
                                  (Credit Union Robbery)
                                    18 U.S.C. § 2113(a)

       On or about August 27, 2020, in the District of Utah,

                                   CODY M. JENSEN,




                                             4
the defendant herein, by force, violence, and intimidation did take from the person and

presence of others, employees of the America First Credit Union located at 326 North

Main St., Kaysville, Utah, U.S. Currency, belonging to and in the care, custody, control,

management, and possession of the America First Credit Union, a credit union whose

deposits are and on the date of the robbery were then insured by the National Credit

Union Administration Board (NCUAB); all in violation of 18 U.S.C. § 2113(a).


                                                  A TRUE BILL:




ANDREA T. MARTINEZ
Acting United States Attorney




            . ESQUEDA
           nited States Attorney




                                             5
